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            EXHIBIT B
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                                                                          Eli Lilly and Company

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August 16, 2024

Via Email (Chantelle.Britton@hrsa.hhs.gov)

Chantelle Britton
Director, Office of Pharmacy Affairs
Health Resources and Services Administration
Department of Health and Human Services
5600 Fishers Boulevard
Rockville, MD 20857

RE: Recertification of Entities Claiming 340B Eligibility Under Subsection (a)(4)(K)

Dear Director Britton,

I write on behalf of Eli Lilly and Company (“Lilly”) to follow up on the concerns, first raised
in our March 20, 2024 letter, about providers seeking certification as 340B covered entities
by claiming they are sexually transmitted disease (“STD”) and/or tuberculosis (“TB”)
funding recipients under 42 U.S.C.§ 256b(a)(4)(K). HRSA never responded substantively to
our letter and declined our May 8, 2024 request for a meeting to discuss this important issue.

With the covered-entity recertification process now underway, it is an ideal time for HRSA
to correct its historical misapplication of subsection (a)(4)(K). Before it can certify an entity
as 340B eligible under this provision, the statute requires HRSA to: (i) develop a process for
certification of entities under subsection (a)(4)(K); and (ii) disclose that process and the
certification criteria to manufacturers. See 42 U.S.C. § 256b(a)(7). HRSA does not appear to
have developed a process for certifying entities under subsection (a)(4)(K) that meets the
requirements of subsection (a)(7), and it certainly has not made that process and associated
eligibility criteria available to manufacturers. Until these defects are cured, the agency lacks
authority to certify any entities under subsection (a)(4)(K) as 340B eligible.

As discussed in our March 20, 2024 letter, subsection (a)(4)(K) confers 340B eligibility on
entities that receive federal grant “funds . . . through a State or unit of local government” for
treating STDs or TB. Under this provision, HRSA has conferred 340B covered-entity status
on providers that are ineligible because they: (1) are “subgrantees” that receive funds from
other covered entities, rather than a state or local government; (2) have received only in-
kind contributions like condoms, not grant “funds” (i.e., cash); (3) do not offer treatment for
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STDs or TB, nor for any other service within the scope of the grant under which they claim
eligibility; or (4) regularly transfer 340B drugs to non-patients.

Lilly respectfully requests that HRSA decline to certify any entities under subsection
(a)(4)(K), both because it has not established the statutorily required certification process
and many entities do not meet the statutory criteria for 340B eligibility. Lilly also respectfully
requests that HRSA publish its process and criteria for certifying covered entities under
subsection (a)(4)(K) of the 340B statute, as is required by subsection (a)(7). We appreciate
your attention to this issue and would welcome the opportunity to discuss it further.

Best regards,




Derek L. Asay
Senior Vice President – Government Strategy & Federal Accounts
